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IN THE U'NITED STATES DISTRICT COURT F!LED BY

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FOR THE WESTERN DISTRICT OF TENNESSEE

 

WESTER.N DIVISION 05 AUG 30 PH 53 19
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LUTRICIA BARNETT BUCKLEY, as
Administratrix of the Estate
of DENVEY BUCKLEY, for the use
and benefit of KATRINA and
LATRICE BUCKLEY, as Next of
Kin and Heirs at law of DENVEY
BUCKLEY, deceased

Plaintiff,

v. No. 03-2874 DP
CITY OF MEMPI-IIS, THE CITY OF
MEMPHIS POLICE DIVISION,
OFFICER PHILLIP PEN'N'Y, OFFICER
KURTIS SCHILK, and OFFICER
ROBERT T. TEBBETTS,
individually and in their
Representative Capacities as
City of Memphis Police
Division Officers,

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Defendants.

 

ORDER DENYING DEFENDANT'S MOTION TO COMPEL DISCOVERY FROM
PLAINTIFF OR, IN THE ALTERNATIVE, MOTION FOR LEAVE TO SERVE UPON
PLAINTIFF WRITTEN INTERROGATORIES EXCEEDING 25 IN NUMBER

 

Before the Court is Defendant City of MemphiS'S Motion to
Compel Discovery from Plaintiff or, in the Alternative, Motion for
Leave to Serve Upon Plaintiff Written Interrogatories Exceeding 25
in Number, filed on July 13, 2005 (dkt #178). Plaintiff responded

on July 27, and the City replied on Aug t 5. For the following

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reasons, the City's motion is DENIED.
I. BACKGROUND

On June 23, 2005, the City served Plaintiff Lutricia Barnett
Buckley with its first request for admissions and its second set of
interrogatories. The City requested that Buckley admit or deny 70
separate request for admissions. Buckley answered these request
for admissions on June 28, 2005, but she objected to the two
interrogatories, which were related to the admissions.
Interrogatory No. ]. states, “For each denial or qualification
contained in your response to Defendant City of Memphis' First
Request for Admissions Propounded Upon Plaintiff, identify the
request for admission, or portion of the request for admission,
which was denied and describe any and all facts upon which you base
the denial or qualification.” Interrogatory No. 2 states,
“Identify any and all documents which exist in support of any
denial or qualification in your response to Defendant City of
Memphis’ First Request for Admissions Propounded Upon Plaintiff and
identify which denial or qualification each document supports.”
Buckley objected to these interrogatories, arguing that they Would
be an “end run” around the limitations imposed on the number of
interrogatories allowed under Fed. R. Civ. P. 33(a).

Subsequently, the Cityl filed this motion. to compel. lt
maintains that the two interrogatories do not contain subparts

because the denials or qualifications are not logically or

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factually independent of each other. Alternatively, the City seeks
an order allowing it to serve more than 25 interrogatories. In
addition to its argument that the first two interrogatories
contained numerous subparts that should be considered as separate
interrogatories, Buckley contends that the City's reference to the
request for admissions in its interrogatories defeats the purpose
of Rules 33 and 36, and that the City has not justified its need to
exceed 25 interrogatories.
II. ANALYSIS

A. Loqicallv or Factuallv IndeDendent Subparts

Federal Rule of Civil Procedure 33(a) presumptively limits the
number of interrogatories each party may serve to twenty five, and
discrete subparts are counted as separate interrogatories. “A
subpart is discreet when it is logically or factually independent
of the question posed by the basic interrogatory.” Power &
Telephone Supplv Co., Inc. v. Suntrust Banks, Inc., No. 03-2217,
2004 WL '784533, at *1 (W.D. Tenn. Mar. 15, 2004)(unpublished)
(quoting Securitv Ins. Co. of Hartford v. Trustmark Ins. Co., No.
01-2198, 2003 WL 22326563, at *l (D. COnn. Mar. 7, 2003)).

The purpose of pretrial admissions is to alleviate the need
for one party to prove certain facts by establishing them as true.

See Fed. R. Civ. P. 36 advisory committee notes (1970); Honeycutt

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v. First Fed. Bank, NO. 02-2710, 2003 WL 1054235, at *l (W.D. Tenn.
Mar. 5, 2003). Requests for admissions are not a general discovery
device. Misco. Inc. v. U.S. Steel Corp., 784 F.2d 198, 205-06 (6th
Cir. 1986). They should be confined to facts that are not in
material dispute. Honeycutt, 2003 WL 1054235, at *1 (quoting
United States v. Watchmakers of Switz. Info. Cent., Inc., 25 F.R.D.
197, 201 (S.D.N.Y. 1959)). As a result, requests for admissions
“are not to be treated as substitutes for discovery processes to
uncover evidence.” Safeco v. Rawstron, 181 F.R.D. 441, 445 (C.D.
Cal. 1998) (quoting California v. The Jules Fribourg, 19 F.R.D.
432, 436 (N.D. Cal. 1955)); see also Camn v. Progressive Corp., No.
01-2680, 2003 WL 21939778, at *4 (E.D. La. Aug. 12, 2003)
(unpublished). Thus, if courts were to allow a single
interrogatory to be used to ask for information based on multiple
request for admission, parties could easily circumvent the

presumptive limit imposed by Rule 33(a). See Misco, 784 F.2d at

 

206; Safeco, 181 F.R.D. at 446; In re Olympia Holding Corp., 189
B.R. 846, 853 (Bankr. N.D. Fla. 1995).

Accordingly, this court concludes that Interrogatories Nos. 1
and 2 contain a discrete subpart for every request for admission

that Plaintiff denied or to which Plaintiff offered a qualified

 

admission.
B. Motion to Exceed the Presumtive Limitation of Rule 33(a)
Under Rule 33(a), a court may grant a party leave to serve

more than 25 interrogatories consistent with the principles of Rule

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26(b)(2), which limits the extent of discovery if it is
unreasonably cumulative, duplicative, or burdensome. The
interrogatories to which the City seeks responses ask Buckley to
provide all facts and identify all documents that would support of
their denial or qualification of any request for admission.
Requiring a party to provide all documents and facts in support of
a negative proposition would be highly burdensome on that party.
gee Safeco, 181 F.R.D. at 447 (citing Lawrence v. First Kansas Bank
& Trust Co., 169 F.R.D. 657, 663 (D. Kan. 1996)).

Plaintiff demonstrates this burden by identifying roughly
forty documents as an example of a response to the second
interrogatory based on only one request for admission. In order to
respond to the first interrogatory, Buckley would be required to
give the facts from those sources that support her denial. Thus,
the court finds that requiring Buckley to respond to these types of
interrogatories would be overly burdensome, and further finds that
the City has not sufficiently shown to the court why it should be
allowed to exceed the presumptive limit.

I I I . CONCLUSION

For the reasons above, Defendant's Motion for Motion to Compel
Discovery from Plaintiff or, in the Alternative, Motion for Leave
to Serve Upon Plaintiff Written Interrogatories Exceeding 25 in

Number is DENIED.1

 

'Although both parties briefly raise the issue, it is
unclear to the court whether the City has already exceeded its
limit on the number of interrogatories. To the extent the City’s

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IT IS SO ORDERED.

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TU M. PHAM

United States Magistrate Judge

 

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Date w

 

first set of interrogatories do not exceed twenty-five in number
(including subparts, as described in this order), Buckley shall
respond to those interrogatories up to the presumptive limit.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 192 in
case 2:03-CV-02874 Was distributed by faX, mail, or direct printing on
September 7, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

